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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                   IN THE UNITED STATES DISTRICT COURT                August 20, 2019
                    FOR THE SOUTHERN DISTRICT OF TEXAS               David J. Bradley, Clerk
                             HOUSTON DIVISION



HAMID IHSAN,                           §
                                       §
                   Plaintiff,          §
                                       §
v.                                     §       CIVIL ACTION NO. H-17-2546
                                       §
WEATHERFORD U.S., L.P.,                §
                                       §
                   Defendant.          §


                       MEMORANDUM OPINION AND ORDER


       Plaintiff Hamid Ihsan brought this action against defendant

Weatherford U.S., L.P. asserting claims for employment discrimi­

nation in violation of the Civil Rights Act of 1866, 42 U.S.C.

§§ 1981-1988 ("§ 1981'' ), Title VII of the Civil Rights Act of 1964,

42 U.S.C. § 2000e-2, et seq. ("Title VII"), and Texas Commission on

Human Rights Act, Texas Labor Code §§ 21.051(1) and 21.055, based

on race (South-Asian), color (darker skin color), national origin

(Pakistani-born), and religion (Muslim). 1           By Memorandum Opinion

and Order and Final Judgment entered on May 21, 2019 (Docket Entry

Nos. 30 and 31), the court granted defendant's motion for summary

judgment and dismissed this action with prejudice.            Pending before

the court is Plaintiff's Motion for Reconsideration (Docket Entry

No. 34).      For the reasons stated below, Plaintiff's Motion for

Reconsideration will be denied.


      Original Complaint and Jury Request ("Original Complaint"),
       1

Docket Entry No. 1, p. 2 1 7.
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                             I.   Background

     This action arises from defendant's termination of plaintiff's
employment as a mechanical engineer at defendant's facility in
Kingwood, Texas, on September 28, 2015. The factual background is
set forth at length in the May 21, 2019, Memorandum Opinion and

Order (Docket Entry No. 30).         In short, plaintiff alleges that
defendant discriminated against him on the basis of race (South­
Asian), color    (darker skin color), national origin           (Pakistani­
born), and religion (Muslim) when it terminated his employment.
     Plaintiff filed this action on August 18, 2017 (Docket Entry
No. 1). On December 21, 2018, defendant moved for summary judgment
on all of plaintiff's claims (Docket Entry No. 21).             On May 21,
2019, the court granted defendant's motion for          summary judgment,
and dismissed this action with prejudice.2
     Defendant timely filed its Bill of Costs on June 4, 2019
(Docket Entry No. 32).      Plaintiff did not file any objections to
the Bill of Costs.      On June 20, 2019, costs were taxed to the
plaintiff in the amount of $7,481.23.
     On June 20, 2019, plaintiff filed Plaintiff's Motion for
Reconsideration (Docket Entry No. 34) in which plaintiff seeks
relief from the final judgment that followed the court's grant of
the defendant's motion for summary judgment, and relief from the
costs taxed against him.

     2
      Memorandum Opinion and Order, Docket Entry No. 3 O;              Final
Judgment, Docket Entry No. 31.
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                          II.     Standard of Review

        u[T]he Federal Rules of Civil Procedure do not recognize a
general motion for reconsideration," St. Paul Mercury Insurance

Company v. Fair Grounds Corporation, 123 F.3d 336, 339 (5th Cir.
1997), and plaintiff does not address the standard of review this

court    should   apply    with    respect    to   the   pending   motion   for
reconsideration.       In this circuit motions to reconsider grants of
summary judgment are treated as either a motion to alter or amend
judgment under Rule 59(e) if filed within 28 days of the judgment
at issue, or a motion for relief from judgment or order under

Rule 60(b) if filed more than 28 days after the judgment at issue.
See Steward v. City of New Orleans, 537 F. App'x 552, 554 (5th Cir.
2013) (per curiam).       The court granted the defendant's motion for
summary judgment and entered the final judgment from which the
plaintiff seeks relief on May 21, 2019, and plaintiff filed his
motion for reconsideration on June 20, 2019, thirty days later.
Because the pending motion for reconsideration was filed more than
twenty-eight days after the judgment from which plaintiff seeks
relief, the pending motion for reconsideration is subject to review
under Rule 60(b).
     Rule 60(b) provides, in part, that a district court "may
relieve a party           . from a final judgment" for any one of the
following six enumerated reasons:
     (1)    mistake,      inadvertence,      surprise,    or   excusable
            neglect;

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     (2)   newly discovered evidence that, with reasonable
           diligence, could not have been discovered in time
           to move for a new trial under Rule 59(b);
     (3)   fraud (whether previously called intrinsic or
           extrinsic), misrepresentation, or misconduct by an
           opposing party;
     (4)   the judgment is void;
     (5)   the judgment has been satisfied,             released, or
           discharged; it is based on an earlier        judgment that
           has been reversed or vacated; or              applying it
           prospectively is no longer equitable;         or
     (6)   any other reason that justifies relief.
Fed. R. Civ. P. 60(b).     Denial of a Rule 60(b) motion is reviewed
for an abuse of discretion.        United States ex rel Gage v. Davis
S.R. Aviation, L.L.C., 658 F. App'x 194, 197-98 (5th Cir. 2016)
(per curiam) (citing Goldstein v. MCI WorldCom, 340 F.3d 238, 257
(5th Cir. 2003)).
     Courts considering such motions are duty-bound to "strike the
proper balance between two competing imperatives:            (1) finality,
and (2) the need to render just decisions on the basis of all the
facts."    Edward H. Bohlin Co., Inc. v. Banning Co., Inc., 6 F.3d
350, 355 (5th Cir. 1993). When additional evidence not part of the
summary judgment record is submitted in support of a motion for
reconsideration, courts consider the reasons for the moving party's
default,   the importance of the omitted evidence to the moving
party's case, whether the evidence was available before the party
responded to the summary judgment motion, and the likelihood that
the nonmoving party will suffer unfair prejudice if the case is
reopened. See Lavespere v. Niagara Machine        &   Tool Works   I   Inc., 910

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F.2d 167, 174 (5th Cir. 1990).            "[A]n unexcused failure to present

evidence available at the time of summary judgment provides a valid
basis        for   denying   a   subsequent     motion   for   reconsideration."

Templet v. HydroChem Inc., 367 F.3d 473, 479 (5th Cir.), cert.
denied sub nom. Irvin v. Hydrochem, Inc., 125 S. Ct. 411 (2004).


                                   III.   Analysis

        Plaintiff's Motion for Reconsideration seeks relief from the
judgment that followed the court's grant of the defendant's motion
for summary judgment, and relief from defendant's bill of costs.


A.      Plaintiff is Not Entitled to Relief from Judgment.

        Plaintiff has not identified which,               if any,   of the six
enumerated reasons for a Rule 60(b) motion on which he is relying.
Instead, plaintiff argues that there are three reasons why the
court should
        reconsider its decision on the sufficiency of [the]
        evidence that could be viewed by a reasonable juror
        during trial to conclude that Plaintiff has set forth a
        prima facie claim of discrimination and retaliation
        sufficient to satisfy the McDonnell Douglas Framework,
        survive summary judgment and proceed to a trial on the
        merits of his claims.3
        The first reason that plaintiff argues the court should grant
him relief from judgment is that
        a factor in the Court's dismissal of the suit was the
        Court's finding that Plaintiff had failed to establish
        that he was treated less favorably than other "similarly


        3
            Plaintiff's Motion for Reconsideration, Docket Entry No. 34,
p. 4.
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     situated" persons. However, the Plaintiff's inability to
     satisfy this burden of proof stems from Defendant's
     refusal and objection to providing a list of persons who
     were similarly situated to Plaintiff during his tenure as
     an employee. Plaintiff sought to obtain this information
     via a motion to compel Defendant to provide the
     information despite Defendant's objection (Dkt. 19) .
     But, on January 28, 2019, this Court denied Plaintiff's
     motion (Dkt. 26).      The combination of the Court's
     January 28, 2019 and May 21, 2019 Orders worked a de
     facto prejudice on Plaintiff's ability to prevail during
     the summary judgment stage of the case. 4
Plaintiff's first reason for seeking reconsideration has no merit
because     the court's denial of the        discovery    motion that he

references had no impact on his ability to establish a prima facie
case of discrimination.
     In response to the defendant's summary judgment motion,
plaintiff argued that he
     was treated less favorably than the other engineers
     working for Defendant, because despite being told he
     would be adequately trained on the key software needed to
     complete his work - Cree - he was only provided "2 hours"
     of informal training, not by a trainer, but by a co­
     worker engineer. This difference in treatment negatively
     affected the conditions of his employment and ultimately
     led to his termination in September 2015. 5
Contrary to plaintiff's argument,          the court's denial of his
discovery motion did not work a de facto prejudice on his ability
to prevail during the summary judgment stage of the case because
his discovery motion sought a


     4
         Id. at 1-2.
     5
      See Opposition to Defendant's Motion for Summary Judgment,
Docket Entry No. 25, pp. 12-13.
                                    -6-
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     list by name, date of employment, and (if applicable)
     date of termination, all persons who held the same job
     title and had the same job duties as Plaintiff within the
     Engineering Department at the same Kingwood facility
     where [] Plaintiff [was employed] during Plaintiff's
     employment.6
Plaintiff's discovery motion did not seek a list of similarly
situated employees, i.e., employees supervised by the same managers

as plaintiff and employees who had received similar performance
coaching during their employment, and did not seek any information
about the training that the other engineers received.            Therefore,
the court's denial of plaintiff's discovery motion had no impact on
his ability to establish a prima facie case of discrimination.
     The second reason that plaintiff argues the court should grant

him relief from judgment is that
     Defendant has argued, and the Court agreed that Plaintiff
     did not provide sufficient evidence to rebut the
     presumption of a legitimate cause of termination and show
      [] that it was a pretext to cover discriminatory conduct
     on Defendant's part.     In reaching this decision, the
     Court appears to have adopted Defendant's argument that
     Plaintiff was terminated because he did not satisfy the
     requirements outlined in the Performance Improvement Plan
     ("PIP") he was placed on by his supervisor, Michael Jahn.
     The Court points to language in the PIP that claims
     Plaintiff was being monitored and evaluated on his
     ability to meet his deadlines in a timely fashion.
     However, a reasonable juror could evaluate the parties'
     competing contentions and the documents available in this
     case to reach a conclusion that Plaintiff's supervisor
     was not fairly evaluating Plaintiff on the issue of his
     timeliness. To wit, at the same time Plaintiff was being
     evaluated on his ability to meet his deadlines, the same
     supervisor was, or should have been aware, that a


     6
      Plaintiff's Motion to Compel Defendant to Respond Fully to
Discovery Requests, Docket Entry No. 19, p. 3 1 10 (INTERROGATORY
NO. 2).
                                    -7-
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        significant reason that Plaintiff was unable to do so was
        that another engineer, upon who[m] Plaintiff's ability to
        meet his deadlines was dependent was consistently failing
        to provide information to Plaintiff that he needed to
        meet those deadlines. 7

Attached to plaintiff's motion are minutes from a meeting of the
team of engineers working on the same project as plaintiff.

Plaintiff argues that the minutes show that an engineer, Guarev D.
Kulkarni, was tasked with providing him information, 8 and an email
exchange between plaintiff and Kulkarni in which plaintiff "pleads
with Kulkarni to get information to him that he needed to meet a
project deadline on the very project that Defendant argues shows
Plaintiff was not able to timely comply with his deadlines. " 9
Plaintiff argues that "[a] juror can find that the 'legitimate'
reason for [his] termination that Defendant proffers fails because
it is false given the state of the documents,                  and unfair to
Plaintiff." 10
        Plaintiff's second reason for seeking reconsideration has no
merit because plaintiff cannot survive summary judgment merely by
denying or explaining his alleged deficiencies.           The proper inquiry
is    "whether       [the   defendant's]    perception    of    [plaintiff's]


        7
            Plaintiff's Motion for Reconsideration, Docket Entry No. 34,
p. 2.
      Id. at 2-3 (citing Exhibit A to Plaintiff's Motion for
        8

Reconsideration, Docket Entry No. 34-1).
      Id. at 3 (citing Exhibit B to Plaintiff's Motion for
        9

Reconsideration, Docket Entry No. 34-2).
        lOid.

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performance,    accurate or not,      was the real reason for          [his]
termination." Shackelford v. Deloitte       &   Touche, LLP, 190 F.3d 398,
408-409 (5th Cir. 1999).       See also Laxton v. Gap Inc., 333 F.3d
572,   579   (5th Cir. 2003)    (" [The inquiry]    is not whether         [the

employer] 's proffered reason was an incorrect reason for              [the]

discharge."). As the Fifth Circuit explained in Mayberry v. Vought
Aircraft Co., 55 F.3d 1086, 1091 (5th Cir. 1995):
       [E] ven an incorrect belief that an employee's performance
       is inadequate constitutes a legitimate, nondiscriminatory
       reason. We do not try in court the validity of good
       faith beliefs as to an employee's competence. Motive is
       the issue .        [A] dispute in the evidence concerning
       . . . job performance does not provide a sufficient basis
       for a reasonable factfinder to infer that [the] proffered
       justification is unworthy of credence.
See also Alkhawaldeh v. Dow Chemical Company, 851 F.3d 422, 427
(5th Cir. 2017) ("'Title VII was enacted to prohibit discrimination

on the basis of race, gender, and other legislatively enumerated
grounds.'    It was not enacted to promote 'general fairness in the
workplace, or       . to protect against' the indiscriminate firing

of employees.")    (citation omitted) .      Plaintiff has provided no
evidence that Jahn did not perceive his job performance to be
deficient.
       Moreover, the defendant objects to all three exhibits attached
to the Plaintiff's Motion for Reconsideration "on grounds of
authenticity and hearsay." 11 Citing King v. Dogan, 31 F.3d 344 (5th


     11Defendant's  Response   to    Plaintiff's  Motion   for
Reconsideration ("Defendant's Response"), Docket Entry No. 35,
p. 7.
                                    -9-
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Cir. 1994) (per curiam), defendant argues that all three of the

exhibits     attached    to    Plaintiff's    Motion      for    Reconsideration
"consist of unauthenticated meeting notes and emails being offered

for the truth of the matter asserted therein.                   Therefore, this
evidence cannot support the relief Plaintiff seeks. " 12              In King. 31
F.3d at 346,       the   Fifth Circuit       held   that "(u]nauthenticated
documents are improper as summary judgment evidence."                 More than a
month has passed since defendant filed its Response to Plaintiff's
Motion for Reconsideration and objections to the exhibits attached
thereto,     but   plaintiff    has    not   replied      to    the   defendant's
objections. Nor has plaintiff offered any argument or explanation
for his failure to cite the evidence on which he now relies in
response     to    the   defendant's     motion     for    summary     judgment.
Accordingly, the defendant's objections to the evidence attached to
Plaintiff's Motion for Reconsideration will be sustained.
     The third reason that plaintiff argues the court should grant
him relief from judgment is that
      the Court highlighted the Defendant's arguments and
      Plaintiff's deposition testimony that Plaintiff was
      provided "nearly one dozen training courses and modules"
      (Court's Opinion, Pg. 14) as contradictory to Plaintiff's
      claim that he was provided less training that, despite
    · Plaintiff being promised that he would be adequately
      trained on the software, Plaintiff was singled out by his
      manager to be placed on a "performance improvement plan"
      ("PIP"), which included criticisms about his inability to
      use the same software system fluently, when Plaintiff was
      never provided adequate training on it.          However,
      evidence exists that a reasonable juror could review to
      conclude that Plaintiff's contention in this regard was


     i2Id.

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       accurate, and that he was not provided adequate training
       on the Creo software to meet the alleged expectations of
       his manager that put him on the PIP plan unfairly. 13
Attached to plaintiff's motion is an email exchange between his
manager, Michael Jahn, and Mahesh Varrey, the engineer tasked with
training the plaintiff on the relevant software, in which
       Jahn and Varrey discuss the inadequacy of those same
       training modules to educate an engineer on proper use of
       Creo. The engineer that was the subject of the email was
       Don Fisher, the engineer who started around the same time
       as Plaintiff and also lacked knowledge of the Creo
       software. 14
       Plaintiff's third argument has no merit because it is merely an
attempt to re-argue an issue that the court considered and decided
when ruling on the defendant's motion for summary judgment. 15
Moreover,    for the reasons stated above,          the court has already
concluded that defendant's objections to the evidence plaintiff has
attached to his Motion for Reconsideration should be sustained.

B.     Plaintiff Is Not Entitled to Relief from the Bill of Costs.

       Conceding that a prevailing party is entitled to submit a bill
of costs and have reasonable costs taxed to the non-prevailing


     13 Plaintiff's Motion for Reconsideration, Docket Entry No. 34,
pp. 3-4.
      Id. at 4 (citing Exhibit C to Plaintiff's Motion for
       14

Reconsideration, Docket Entry No. 34-3).
      See Memorandum Opinion and Order, Docket Entry No. 3 O,
       15

pp. 13-14 (concluding that plaintiff failed to establish the fourth
prong of his prima facie case under§ 1981, Title VII, or the Texas
Labor Code because he "failed to submit any evidence from which a
reasonable fact-finder could conclude that he was treated less
favorably than similarly situated employees outside of his
protected classes with respect either to the type or amount of
training that he received").
                                     -11-
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party, plaintiff "respectfully submits that the taxed costs should
be limited to those costs incurred to obtain information that
formed the basis of the Defendant's summary judgment argument -
i.e., the oral deposition transcripts costs." 16               Plaintiff also
argues that defendant

        has included in its Bill of Costs, amounts incurred for
        videotaping the deposition of Plaintiff. This was not
        necessary because had Plaintiff not shown up for trial
        his case would be dismissed for want of prosecution. So
        videotaping over and above the ordinary stenographic
        means of recording his deposition was unduly excessive,
        and this Court should not hold Plaintiff to bearing that
        cost[] .

             Limiting the taxed costs to account for the above,
        would reduce the amount of the permitted taxed costs by
        $2,411.00, which would be more fair, and less burdensome
        to the Plaintiff under the circumstances. 17
        Asserting that the court's taxation of costs was proper,
defendant argues that plaintiff's motion seeking to reduce the
taxed costs should be denied because plaintiff failed to timely
file objections to the Bill of Costs, and because the taxed costs
are reasonable. 18

        Federal Rule of Civil Procedure 54 (d) (1) states that "[u] nless
a   federal       statute,   these   rules,   or   a   court   order   provides
otherwise, costs - other than attorney's fees - should be allowed
to the prevailing party."        See Pacheco v. Mineta, 448 F.3d 783, 793


        16
             Plaintiff's Motion for Reconsideration, Docket Entry No. 34,
p. 4.
        17
             Id. at 4-5.
        18
             Defendant's Response, Docket Entry No. 35, pp. 8-9.
                                      -12-
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(5th Cir.), cert. denied, 127 s. Ct. 299 (2006).        Taxation of costs

under Rule 54(d) is a matter within the court's discretion.                Id.
Nevertheless, Rule 54(d)(1) "contains a strong presumption that the
prevailing party will be awarded costs."         Id.
     As a result of this cost-shifting presumption, the
     general discretion conferred by Rule 54(d)(1) has been
     circumscribed by the judicially-created condition that a
     court "may neither deny nor reduce a prevailing party's
     request for cost[s] without first articulating some good
     reason for doing so." Id. at 793-94 (quoting Schwarz v.
     Folloder, 767 F.2d 125, 131 (5th Cir. 1985)).
Id. at 794.   The court may decline to award certain costs, and may

only tax as costs the expenses that are listed in 28 U.S.C. § 1920:
     (1) Fees of the clerk and marshal; (2) Fees for printed
     or electronically recorded transcripts necessarily
     obtained for use in the case; (3) Fees and disbursements
     for printing and witnesses; (4) Fees for exemplification
     and the costs of making copies of any materials where the
     copies are necessarily obtained for use in the case;
     (5) Docket fees under section 1923 of this title;
     (6) Compensation of court-appointed experts, compensation
     of interpreters, and salaries, fees, expenses, and costs
     of special interpretation services under section 1828 of
     this title.
See Crawford Fitting Co. v. J. T. Gibbons, Inc., 107 S. Ct. 2494,
2497-98 (1987).   Allowable costs are limited to these categories,
and expenses that are not authorized by statute or contract must be
borne by the party incurring them.        Id.   See also Coats v. Penrod
Drilling Corp., 5 F.3d 877, 891 (5th Cir. 1993), cert. denied, 114
S. Ct. 1303 ( 1994) ( "a district court may decline to award the
costs listed in the statute but may not award costs omitted from
the list"). If the party being taxed has not specifically objected
to a cost, the presumption is that the costs being sought were

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necessarily incurred for use in the case and will be taxed.                See

Embotelladora Agral Regiomontana, S.A. de C.V. v. Sharp Capital,
Inc., 952 F. Supp. 415, 417 (N.D. Tex. 1997) ("[I]n the absence of
a specific objection, deposition costs will be taxed as having been

necessarily obtained for use in the case.").            However, once an

objection has been raised, the party seeking costs bears the burden
of verifying that the costs were necessarily incurred in the case

rather than just spent in preparation and litigation of the case.
See Fogleman v. ARAMCO (Arabian American Oil Co.), 920 F.2d 278,
286 (5th Cir. 1991).
     Asserting that "[p]laintiff's deadline to file any objections
to the bill of cost was June 11, 2019," 19 and that "[p]laintiff
failed to timely file objections to Defendant's Bill of Costs," 20
defendant argues that "[p]laintiff has waived his objections and
cannot now seek reconsideration of those taxed costs." 21             Local
Rule 54.2 governing Bill of Costs provides, in pertinent part:             "An

application for costs shall be made by filing a bill of costs
within 14 days of the entry of a final judgment.              . Objections
to allowance of the bill, the attorney's fees, or both must be
filed within 7 days of the bill's filing."         Here, defendant filed
its bill of costs on June 4, 2019          (Docket Entry No.      32), and



      Id. at 8 (citing S.D. Tex. Local Rule 54.2 (requiring any
     19

objections to a bill of costs to be filed within 7 days)).
     20Id.




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plaintiff did not object to defendant's bill of costs until
June    20,    2019,   the    date      he   filed    the   pending    motion    for
reconsideration.       Because plaintiff failed to object to defendant's

Bill of Costs within the 7-day period provided by Local Rule 54.2,
plaintiff has waived any objection to the cost award by failing to

file timely objections.            See Carlson v. Rockwell International
Corp., 132 F.3d 1453, *2 (5th Cir. 1997)                (per curiam)    ("We agree
with the district court's conclusion that [the plaintiff] waived
any objection to the cost award by failing to object to the bill of
costs within       [the    time period allowed by the relevant Local
Rule] . ") .   Alternatively,        the court concludes that plaintiff's
request for reduction in costs should be denied because the costs
taxed are proper and reasonable.
       Plaintiff objects to defendant's request for costs incurred
obtaining third-party records that defendant did not use in its
summary judgment motion, but cites no authority in support of this
objection.      Defendant argues - and the court agrees - that a
prevailing     party      meets   its   burden   to    recover   such    costs   by
demonstrating a nexus between the costs incurred and the litigation,
not between the costs incurred and the summary judgment motion.
       Plaintiff objects to defendant's request for costs incurred
obtaining a videotape of the plaintiff's deposition.                    Asserting
that he would have appeared for trial,                  plaintiff argues that
incurring this cost was excessive.                   This court has,     however,
recognized that costs incurred for videotaped depositions are

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properly taxable. See Baisden v. I'm Ready Productions, Inc., 793
F. Supp. 2d 970, 976-77 (S.D. Tex. 2011) (finding costs for both
stenographic and video transcripts of depositions were "necessary
for the case" for the prevailing party related to both party and

non-party witnesses).       Accordingly,     the court concludes that

plaintiff's request for a reduction in costs should be denied.


                     IV.   Conclusions and Order

     For the reasons stated in§ III, above, defendant's objections
to the evidence attached to Plaintiff's Motion for Reconsideration

are SUSTAINED, and Plaintiff's Motion for Reconsideration (Docket

Entry No. 34) is DENIED.

     SIGNED at Houston, Texas, on this 20th day of August, 2019.




                                               SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




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